                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

  IN RE:
   REBECCA ANNE URTZ                                          Case No.15-07141-RM3-13
   1610 CEDAR TREE LANE
   MOUNT JULIET, TN 37122                                     JUDGE RANDAL S MASHBURN




   SSN XXX-XX-2403
                      TRUSTEE'S NOTICE OF INTENT TO PAY CLAIMS


     Comes now the standing Chapter 13 Trustee who hereby serves notice that the
following claims have been examined. The deadline for filing non government claims in
this case was 02/22/2016. The deadline for filing claims by governmental units was
04/04/2016. After such examination the Trustee states that claims should be deemed
allowed, or 'not filed' as indicated below:
NAME AND ADDRESS OF CREDITOR                 AMOUNT              CLASSIFICATION
1305 CLAIM                                    $0.00              UNSECURED - 1305 (O)
NO ADDRESS GIVEN                     DATE FILED: 10/08/2015      Disb level: 42
,   00000
                                                                 ACCT:
                                                                 COMM:

                              TRUSTEE'S CLAIM NO: 1              COURT'S CLAIM#
                              PERCENT ALLOWED: 100.00 %

INSOLVE AUTO FUNDING                       $16,763.99            AUTOMOBILE LOAN (V)
CAPITAL RECOVERY GROUP               DATE FILED: 01/12/2016      Disb level: 21
DEPT 3403 P O BOX 123403
DALLAS, TX 75312                                                 ACCT: 1100
                                                                 COMM: 2014 CHEVROLET IMPALA /E/

                              TRUSTEE'S CLAIM NO: 2         COURT'S CLAIM# 7
                              PERCENT ALLOWED: 100.00 % + 22.00%

AMERICAN EDUCATION SERVICES                $19,596.76            UNSECURED CREDITOR (H)
P O BOX 8183                         DATE FILED: 10/22/2015      Disb level: 41
HARRISBURG, PA 17105
                                                                 ACCT: 2403
                                                                 COMM: STUDENT LOAN/GOAL
                                                                 FINANCIAL

                              TRUSTEE'S CLAIM NO: 3              COURT'S CLAIM# 1
                              PERCENT ALLOWED: 20.00 %

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CHASE CARD                                      $0.00            UNSECURED CREDITOR (H)
P O BOX 15298                          DATE FILED: 10/08/2015    Disb level: 41
WILMINGTON, DE   19850-5298
                                                                 ACCT: 6973
                                                                 COMM: CC

                              TRUSTEE'S CLAIM NO: 4              COURT'S CLAIM#
                              PERCENT ALLOWED: 20.00 %

ECAST SETTLEMENT CORPORATION                 $40,969.82          UNSECURED CREDITOR (H)
P O BOX 29262                          DATE FILED: 01/11/2016    Disb level: 41
NEW YORK, NY 10087
                                                                 ACCT: 2269
                                                                 COMM: CITIBANK NA

                              TRUSTEE'S CLAIM NO: 5              COURT'S CLAIM# 6
                              PERCENT ALLOWED: 20.00 %

CITIZENS BANK                                 $7,308.84          UNSECURED CREDITOR (H)
443 JEFFERSON BLVD RJW135              DATE FILED: 10/23/2015    Disb level: 41
WARWICK, RI 02886
                                                                 ACCT: 4387
                                                                 COMM:

                              TRUSTEE'S CLAIM NO: 6              COURT'S CLAIM# 2
                              PERCENT ALLOWED: 20.00 %

ESL FCU                                      $23,434.04          UNSECURED CREDITOR (H)
P O BOX 92714                          DATE FILED: 11/30/2015    Disb level: 41
ROCHESTER, NY    14692
                                                                 ACCT: 1530
                                                                 COMM: DEBT CONSOLIDATION LOAN

                              TRUSTEE'S CLAIM NO: 7              COURT'S CLAIM# 4
                              PERCENT ALLOWED: 20.00 %

ESL FCU                                       $2,062.51          UNSECURED CREDITOR (H)
P O BOX 92714                          DATE FILED: 11/30/2015    Disb level: 41
ROCHESTER, NY    14692
                                                                 ACCT: 5010
                                                                 COMM: CASH RESERVE LOAN

                              TRUSTEE'S CLAIM NO: 8              COURT'S CLAIM# 5
                              PERCENT ALLOWED: 20.00 %

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RBS CITIZENS CC                               $0.00            UNSECURED CREDITOR (H)
ATTN BK DEPT                         DATE FILED: 10/08/2015    Disb level: 41
443 JEFFERSON BLVD MS RJW 135
WARWICK, RI 02886                                              ACCT: 4387
                                                               COMM: CC

                             TRUSTEE'S CLAIM NO: 9             COURT'S CLAIM#
                             PERCENT ALLOWED: 20.00 %

US DEPT OF EDUCATION                       $83,594.25          UNSECURED CREDITOR (H)
P O BOX 530229                       DATE FILED: 11/11/2015    Disb level: 41
ATLANTA, GA 30353
                                                               ACCT: 2403
                                                               COMM: STUDENT LOAN/GLELSI

                             TRUSTEE'S CLAIM NO: 10            COURT'S CLAIM# 3
                             PERCENT ALLOWED: 20.00 %

DIRECT TV                                     $0.00            COSTED - LEASE PYMT/POST PET
P O BOX 6550                                                   (K)
                                                               Disb level: 0
                                     DATE FILED: 10/08/2015
ENGLEWOOD, CO   80155                                          PAID OUTSIDE
                                                               ACCT:
                                                               COMM: CABLE

                             TRUSTEE'S CLAIM NO: 11            COURT'S CLAIM#
                             PERCENT ALLOWED: .00 %

MAINSTREET RENEWAL                            $0.00            COSTED - LEASE PYMT/POST PET
4701 TROUSDALE DR STE 119                                      (K)
                                                               Disb level: 0
                                     DATE FILED: 10/08/2015
NASHVILLE, TN 37220                                            PAID OUTSIDE
                                                               ACCT:
                                                               COMM: RESIDENTIAL

                             TRUSTEE'S CLAIM NO: 12            COURT'S CLAIM#
                             PERCENT ALLOWED: .00 %

VERIZON WIRELESS                              $0.00            COSTED - LEASE PYMT/POST PET
500 TECHNOLOGY DR STE 550                                      (K)
                                                               Disb level: 0
                                     DATE FILED: 10/08/2015
WELDON SPRING, MO 63304                                        REJECT
                                                               ACCT:
                                                               COMM: CELL PHONE

                             TRUSTEE'S CLAIM NO: 13            COURT'S CLAIM#
                             PERCENT ALLOWED: .00 %

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TOTAL                                                                     $197,540.21


     The Trustee proposes to pay on such claims unless such claims are disallowed.

Accordingly, the Trustee notifies the court and the debtor that those claims which have
been filed be deemed allowed for the purpose of distribution pursuant to the confirmed
plan.

                                                         /s/ Henry E. Hildebrand, III
    05/10/2016            AMA                            HENRY E. HILDEBRAND, III
      DATE             INITIALS                          CHAPTER 13 TRUSTEE
                                                         P O BOX 340019
                                                         NASHVILLE, TN 37203
                                                         PHONE: 615-244-1101
                                                         FAX: 615-242-3241
                                                         pleadings@ch13nsh.com



cc: HENRY E. HILDEBRAND, III                            LONG BURNETT AND JOHNSON PLLC
   REBECCA ANNE URTZ                                    302 42ND AVE NO
   1610 CEDAR TREE LANE                                 NASHVILLE, TN 37209
   MOUNT JULIET, TN 37122




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